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                          BEFORE THE UNITED STATES
                JUDICIAL PANEL ON MULTIDISTRICT LITIGATION




 In re: Real Estate Commission                                  MDL No. 3100
 Antitrust Litigation




       INTERESTED PARTY STATEMENT OF BUYER‐PLAINTIFFS
SUPPORTING CENTRALIZATION IN THE NORTHERN DISTRICT OF ILLINOIS

       Plaintiffs in Batton v. National Association of Realtors, No. 21‐cv‐430 (N.D. Ill.)

(“Batton I”), and Batton v. Compass, Inc., No. 23‐cv‐15618 (N.D. Ill.) (“Batton II”),

(collectively the “Buyer‐Plaintiffs”) 1 support centralization in the Northern District of

Illinois before Judge Andrea R. Wood. The Northern District of Illinois is the most

appropriate venue because it is the locus of the National Association of Realtors

(“NAR”), which acts as the hub at the center of the hub‐and‐spoke conspiracy

allegations underlying the antitrust allegations in all cases implicated in this

centralization motion. Judge Wood is best suited to oversee these actions because she




       1
         A different buyer filed a lawsuit containing virtually identical factual
allegations against an additional defendant in Illinois state court on December 8, 2023.
That case was removed to the Northern District of Illinois in January 2024. See Tuccori v.
At World Properties, LLC, No. 24‐cv‐150 Dkt. 1, Ex. B. The Buyer‐Plaintiffs here do not
speak for the plaintiff in Tuccori.

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has years’ more experience overseeing the first‐filed and the two most advanced of the

lawsuits at issue brought by both home sellers (Moehrl) and Buyer‐Plaintiffs.

                BACKGROUND ON BUYER‐PLAINTIFFS’ ACTIONS

       The Buyer‐Plaintiffs’ first antitrust lawsuit against NAR and seven brokerage

firms was filed in the Northern District of Illinois on January 25, 2021. Batton I, Dkt. 1.

Though many of their claims resemble those alleged in home seller lawsuits like the

first‐filed home seller action in Moehrl, Buyer‐Plaintiffs alleged additional unlawful

NAR rules that harmed only homebuyers. By restricting the supply of housing and

buyer‐agent services available to homebuyers, these rules create artificially higher

prices that injure them.

       Judge Wood dismissed the Buyer‐Plaintiffs’ first complaint in a detailed opinion

after extensive briefing largely based on her finding that Buyer‐Plaintiffs are indirect

purchasers under Illinois Brick. See Batton I, Dkt. 81. Buyer‐Plaintiffs then asserted

various state‐law antitrust violations and other claims in an amended complaint. Id.,

Dkt. 84. Since the filing of the amended complaint, the Buyer‐Plaintiffs, NAR, and seven

broker‐defendants have fully briefed another motion to dismiss. Id., Dkt. 92, 97, 99. The

district court has indicated that a ruling on this motion is imminent and that some, if

not all, claims will survive the motion by requiring the parties to confer on responsive

pleading deadlines. Ex. A, January 23, 2024 Transcript, at 6:6‐7.




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        The Buyer‐Plaintiffs also filed a separate action against seven additional broker‐

defendants on November 2, 2023. Judge Wood granted the Buyer‐Plaintiffs’ motion to

reassign the case to her calendar, and the district’s executive committee reassigned the

case to her calendar on January 24, 2024. Batton I, Dkt. 123; Batton II, Dkt. 83.

                                             ARGUMENT

        Although their lawsuits involve additional, separate allegations related to NAR

rules that do not harm seller‐plaintiffs, Buyer‐Plaintiffs’ claims involve sufficient

common facts about NAR’s rules to justify centralization with the seller‐plaintiff cases

under 28 U.S.C. § 1407. Buyer‐Plaintiffs write separately to emphasize that the Northern

District of Illinois is the only proper venue for any centralization order that

encompasses their actions.

        In centralization decisions involving both direct and indirect purchaser claims,

this panel has weighed three primary factors that examine (1) whether the district court

has actions involving direct and indirect claims; (2) the district encompassing the

headquarters of the common defendant; and/or (3) the district with the most advanced

litigation implicated by centralization. 2 Here, all of those factors support centralization

only in the Northern District of Illinois.


        2
          See In re Direct Purchaser Plaintiff Beef Antitrust Litig., 609 F. Supp. 3d 1412, 1414 (U.S. Jud.
Pan. Mult. Lit. 2022) (centralization to district with most advanced cases involving direct and
indirect purchasers); In re: Loestrin 24 Fe Antitrust Litig., 978 F. Supp. 2d 1371, 1372 (U.S. Jud. Pan.
Mult. Lit. 2013) (centralization to alternative district because its “actions include claims by both
direct and indirect purchasers” and the chosen “experienced and capable jurist . . . had not yet
presided over an MDL.”); In re: Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust Litig., 949
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        In In re: Skelaxin (Metaxalone) Antitrust Litig., 856 F. Supp. 2d 1350 (U.S. Jud. Pan.

Mult. Lit. 2012), for example, this panel centralized the litigation in Tennessee over the

movant’s preferred location in Pennsylvania because the Tennessee district contained

the common defendant’s headquarters and because the Tennessee court had both direct

and indirect purchaser claims. Id. at 1352. Similarly, In re Pork Direct & Indirect Purchaser

Antitrust Litig., 544 F. Supp. 3d 1379 (U.S. Jud. Pan. Mult. Lit. 2021), centralized

litigation in Minnesota over the movants’ preferred Texas district where the Minnesota

district had cases involving direct and indirect claims because that court had already

“decided two rounds of dismissal motions.” Id. at 1381.

        Here, the Northern District of Illinois is the only district that has both direct and

indirect actions, and the only district where the court has experience substantively

evaluating claims by certified and alleged classes of both home sellers and homebuyers.

Transferring the indirect purchaser claims to another district court would create

substantial inefficiencies, requiring the transferee court to become familiar with

eighteen state statutes and the relationship between the seller claims and those brought

by Buyer‐Plaintiffs. While some of these statutes have overlapping requirements,

purported substantive differences between these statutes have been a focus of briefing




F. Supp. 2d 1365, 1366 (U.S. Jud. Pan. Mult. Lit. 2013) (centralization in district with actions
“including claims by both direct and indirect purchasers”); In re Pineapple Antitrust Litig., 342 F. Supp.
2d 1348, 1349 (J.P.M.L. 2004) (centralizing in S.D.N.Y. because its actions “include claims of both
direct and indirect purchasers”).

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on the motion to dismiss currently before Judge Wood. See, e.g., Batton I, Dkt. 98 at 16‐

19.

       Additionally, NAR is either a named defendant or a co‐conspirator in all cases,

and its headquarters is in the Northern District of Illinois. Although plaintiffs in several

of the identified cases did not name NAR as a defendant, NAR and the rules it

propagated remain at the heart of all of the related actions because they serve as the

central hub in the hub‐and‐spoke conspiracies alleged in every case. Accordingly, NAR

and its conduct are part of the common factual issues at the center of the § 1407 inquiry

and will be the focus of centralized discovery in all cases. Moreover, even in those cases

that do not name NAR as a defendant, the parties will require information and

documents from NAR. See In re Tepezza Mktg., Sales Pracs., & Prod. Liab. Litig., No. MDL

3079, 2023 WL 3829248, at *2 (U.S. Jud. Pan. Mult. Lit. June 2, 2023) (“We are persuaded

that the Northern District of Illinois is the appropriate transferee district for these cases.

Defendant Horizon is based in this convenient and readily accessible district, where

likely relevant documents and witnesses may be found.”)

       Even if the presence of direct and indirect claims and the location of NAR’s

headquarters merited little weight, the Northern District of Illinois would still be the

proper venue because it is where the first filed and most advanced actions are currently

pending. In cases where indirect purchaser claims were centralized and transferred

outside of their original district, this panel chose the transferee court that had the “first


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filed and most advanced . . . action.” In re Ranbaxy Generic Drug Application Antitrust

Litig., 355 F. Supp. 3d 1382, 1383 (U.S. Jud. Pan. Mult. Lit. 2019). Here, Moehrl is far more

advanced than many of the cases implicated in this motion, having already been

certified with summary judgment and Daubert motions nearly fully briefed.

       Additionally, Judge Wood in the Northern District of Illinois has no pending

MDLs, Chicago is a centralized location for lawsuits that have been filed from

California to Massachusetts, and Judge Wood has already indicated the Court’s opinion

that “it makes sense having them within this district, to the extent possible, in front of

the same judge given the very overlapping and similar issues.“ Ex. A, January 23, 2024

Transcript, at 9:11‐14; see In re Seresto Flea & Tick Collar Mktg., Sales Pracs. & Prod. Liab.

Litig., No. MDL 3009, 2021 WL 3854901, at *2 (U.S. Jud. Pan. Mult. Lit. Aug. 11, 2021)

(“The Northern District of Illinois is an appropriate transferee district for this litigation.

This district presents an accessible and geographically central venue for this litigation.

The Northern District of Illinois is reasonably close to both the Kansas City and

Indianapolis metro areas, where the parties assert that relevant documents and

witnesses are located. Furthermore, the Northern District of Illinois has the resources

and the capacity to efficiently handle this nationwide litigation.”).

       The other proposed districts are all inferior to the Northern District of Illinois.

The Texas defendants have argued that the Eastern District of Texas is an appropriate

venue, Dkt. 268 at 13, but the Northern District of Illinois is far superior. Perhaps


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because these defendants view centralization as inappropriate, they fail to consider the

practical goals of centralization. Their argument against centralization ignores the

central role that NAR played as the key coconspirator unifying the common facts across

the actions, instead emphasizing the number of named defendants across those actions

that followed those rules. However, if their centralization argument is wrong and

common facts do merit centralization, then the superior venue would be the one

bearing the closest relationship to those common facts, the most advanced actions at

issue, and the one with experience evaluating both home seller claims and Buyer‐

Plaintiffs claims. Here, that is the Northern District of Illinois.

       Other factors that the Texas defendants identify similarly yield no centralization

benefits. While it may or may not be true that a plurality of the defendants have some

connection to Texas, that is an artifact only of the plaintiffs’ pleading strategy and not

reflective of the factual center of the case. By placing too much emphasis on this

argument, the panel would risk inviting artful pleading whereby late‐arriving plaintiffs

hoping to control the MDL venue would overload named defendants in the hope of

swaying this panel’s venue determination. Indeed, nothing is stopping Buyer‐Plaintiffs

or other plaintiffs from joining every real estate firm and regional realtor association in

or near their preferred venue to skew the numbers as well.

       The remaining arguments in favor of the Eastern District of Texas largely rest on

disaggregated statistics about the current caseload of the entire Northern District of


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Illinois. But these arguments obscure the more relevant question: whether a particular

judge will be overburdened by an MDL assignment. In this case, the statistics pointed to

by various briefs do not suggest that either Judge Jordan or Judge Wood will be

overburdened by an MDL. Accordingly, these arguments are at best neutral.

       However, as noted in NAR’s brief, Judge Wood has no pending MDL and has

significant experience examining the precise issues that will be the focus of coordinated

discovery after centralization and assignment. While both Judge Jordan and Judge

Wood are undoubtedly qualified jurists for any MDL, Judge Wood in the Northern

District of Illinois is the proper jurist for managing this MDL.

                                     CONCLUSION

       If this panel chooses to centralize Buyer‐Plaintiffs’ claims with those brought by

home sellers, it should do so before Judge Wood in the Northern District of Illinois.




Dated: February 14, 2024                         /s/ Randall P. Ewing, Jr.
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